                                       UNITED STATES BANKRUPTCY COURT
                                         FOR THE NOR DISTRICT OF CALIFORNIA
                                                         OAKLAND DIVISION


In Re. NUTRITION 53, INC.                                           §                   Case No. 23-40997
                                                                    §
                                                                    §
                       Debtor(s)                                    §
                                                                                            Jointly Administered

Monthly Operating Report                                                                                                  Chapter 11

Reporting Period Ended: 05/31/2024                                                        Petition Date: 08/11/2023

Months Pending: 10                                                                        Industry Classification:    4   4   6     1

Reporting Method:                              Accrual Basis                         Cash Basis

Debtor's Full-Time Employees (current):                                          0

Debtor's Full-Time Employees (as of date of order for relief):                   0



Supporting Documentation (check all that are attached):
(For jointly administered debtors, any required schedules must be provided on a non-consolidated basis for each debtor)

         Statement of cash receipts and disbursements
         Balance sheet containing the summary and detail of the assets, liabilities and equity (net worth) or deficit
         Statement of operations (profit or loss statement)
         Accounts receivable aging
         Postpetition liabilities aging
         Statement of capital assets
         Schedule of payments to professionals
         Schedule of payments to insiders
         All bank statements and bank reconciliations for the reporting period
         Description of the assets sold or transferred and the terms of the sale or transfer




Kristine
Kris
Kr isti
   istine
     tinee M
           Manlapaz
             anlapaz
             an                                                              Kristine Manlapaz
Signature of Responsible Party                                               Printed Name of Responsible Party
06/21/2024
Date
                                                                             497 Edison Ct. Suite B, Fairfield, CA 94534
                                                                             Address



STATEMENT: This Periodic Report is associated with an open bankruptcy case; therefore, Paperwork Reduction Act exemption 5 C.F.R.
§ 1320.4(a)(2) applies.
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Debtor's Name NUTRITION 53, INC.                                                                     Case No. 23-40997


Part 1: Cash Receipts and Disbursements                                              Current Month            Cumulative

a.   Cash balance beginning of month                                                                 $8,589
b.   Total receipts (net of transfers between accounts)                                          $72,599                   $151,576
c.   Total disbursements (net of transfers between accounts)                                     $69,765                   $147,411
d.   Cash balance end of month (a+b-c)                                                           $11,423
e.   Disbursements made by third party for the benefit of the estate                                    $0                      $0
f.   Total disbursements for quarterly fee calculation (c+e)                                     $69,765                   $147,411
Part 2: Asset and Liability Status                                                   Current Month
(Not generally applicable to Individual Debtors. See Instructions.)
a. Accounts receivable (total net of allowance)                                                      $3,895
b.   Accounts receivable over 90 days outstanding (net of allowance)                             $94,110
c.   Inventory       ( Book        Market      Other      (attach explanation))                 $115,802
d    Total current assets                                                                       $213,807
e.   Total assets                                                                               $213,807
f.   Postpetition payables (excluding taxes)                                                         $3,054
g.   Postpetition payables past due (excluding taxes)                                            $19,675
h.   Postpetition taxes payable                                                                         $0
i.   Postpetition taxes past due                                                                        $0
j.   Total postpetition debt (f+h)                                                                   $3,054
k.   Prepetition secured debt                                                                $15,093,164
l.   Prepetition priority debt                                                                          $0
m. Prepetition unsecured debt                                                                 $4,546,931
n.   Total liabilities (debt) (j+k+l+m)                                                      $19,643,149
o.   Ending equity/net worth (e-n)                                                           $-19,429,342

Part 3: Assets Sold or Transferred                                                   Current Month            Cumulative


a.   Total cash sales price for assets sold/transferred outside the ordinary
     course of business                                                                                 $0                      $0
b.   Total payments to third parties incident to assets being sold/transferred
     outside the ordinary course of business                                                            $0                      $0
c.   Net cash proceeds from assets sold/transferred outside the ordinary
     course of business (a-b)                                                                           $0                      $0

Part 4: Income Statement (Statement of Operations)                                   Current Month            Cumulative
(Not generally applicable to Individual Debtors. See Instructions.)
a. Gross income/sales (net of returns and allowances)                                            $73,042
b.   Cost of goods sold (inclusive of depreciation, if applicable)                                   $3,430
c.   Gross profit (a-b)                                                                          $69,613
d.   Selling expenses                                                                                $1,281
e.   General and administrative expenses                                                         $82,759
f.   Other expenses                                                                                   $0
g.   Depreciation and/or amortization (not included in 4b)                                            $168
h.   Interest                                                                                    $33,938
i.   Taxes (local, state, and federal)                                                                $0
j.   Reorganization items                                                                               $0
k.   Profit (loss)                                                                              $-48,533                   $-94,404
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Debtor's Name NUTRITION 53, INC.                                                                             Case No. 23-40997

Part 5: Professional Fees and Expenses

                                                                                  Approved       Approved       Paid Current       Paid
                                                                                Current Month   Cumulative         Month         Cumulative
a.     Debtor's professional fees & expenses (bankruptcy) Aggregate Total

       Itemized Breakdown by Firm
                Firm Name                         Role
       i
       ii
       iii
       iv
       v
       vi
       vii
       viii
       ix
       x
       xi
       xii
       xiii
       xiv
       xv
       xvi
       xvii
       xviii
       xix
       xx
       xxi
       xxii
       xxiii
       xxiv
       xxv
       xxvi
       xxvii
       xxviii
       xxix
       xxx
       xxxi
       xxxii
       xxxiii
       xxxiv
       xxxv
       xxxvi
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Debtor's Name NUTRITION 53, INC.                                               Case No. 23-40997


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       xxxix
       xl
       xli
       xlii
       xliii
       xliv
       xlv
       xlvi
       xlvii
       xlviii
       xlix
       l
       li
       lii
       liii
       liv
       lv
       lvi
       lvii
       lviii
       lix
       lx
       lxi
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       lxviii
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       lxxvii
       lxxvii
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       lxxx
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       lxxxix
       xc
       xci
       xcii
       xciii
       xciv
       xcv
       xcvi
       xcvii
       xcviii
       xcix
       c
       ci

                                                                                 Approved       Approved       Paid Current       Paid
                                                                               Current Month   Cumulative         Month         Cumulative
b.     Debtor's professional fees & expenses (nonbankruptcy) Aggregate Total

       Itemized Breakdown by Firm
                Firm Name                        Role
       i
       ii
       iii
       iv
       v
       vi
       vii
       viii
       ix
       x
       xi
       xii
       xiii
       xiv
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       xvii
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       xix
       xx
       xxi
       xxii
       xxiii
       xxiv
       xxv
       xxvi
       xxvii
       xxviii
       xxix
       xxx
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         xcix
         c
c.       All professional fees and expenses (debtor & committees)




Part 6: Postpetition Taxes                                                               Current Month             Cumulative

a.   Postpetition income taxes accrued (local, state, and federal)                                       $0                          $0
b.   Postpetition income taxes paid (local, state, and federal)                                          $0                          $0
c.   Postpetition employer payroll taxes accrued                                                         $0                          $0
d.   Postpetition employer payroll taxes paid                                                            $0                          $0
e.   Postpetition property taxes paid                                                                    $0                          $0
f.   Postpetition other taxes accrued (local, state, and federal)                                        $0                          $0
g.   Postpetition other taxes paid (local, state, and federal)                                           $0                          $0

Part 7: Questionnaire - During this reporting period:

a.   Were any payments made on prepetition debt? (if yes, see Instructions)        Yes        No
b.   Were any payments made outside the ordinary course of business                Yes        No
     without court approval? (if yes, see Instructions)
c.   Were any payments made to or on behalf of insiders?                           Yes        No
d.   Are you current on postpetition tax return filings?                           Yes        No
e.   Are you current on postpetition estimated tax payments?                       Yes        No
f.   Were all trust fund taxes remitted on a current basis?                        Yes        No
g.   Was there any postpetition borrowing, other than trade credit?                Yes        No
     (if yes, see Instructions)
h.   Were all payments made to or on behalf of professionals approved by           Yes        No    N/A
     the court?
i.   Do you have:           Worker's compensation insurance?                       Yes        No
                                 If yes, are your premiums current?                Yes        No    N/A       (if no, see Instructions)
                            Casualty/property insurance?                           Yes        No
                                 If yes, are your premiums current?                Yes        No    N/A       (if no, see Instructions)
                            General liability insurance?                           Yes        No
                                 If yes, are your premiums current?                Yes        No    N/A       (if no, see Instructions)
j.   Has a plan of reorganization been filed with the court?                       Yes        No
k.   Has a disclosure statement been filed with the court?                         Yes        No
l.   Are you current with quarterly U.S. Trustee fees as                           Yes        No
     set forth under 28 U.S.C. § 1930?




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Debtor's Name NUTRITION 53, INC.                                                                                Case No. 23-40997

Part 8: Individual Chapter 11 Debtors (Only)

a.      Gross income (receipts) from salary and wages                                                                 $0
b.      Gross income (receipts) from self-employment                                                                  $0
c.      Gross income from all other sources                                                                           $0
d.      Total income in the reporting period (a+b+c)                                                                  $0
e.      Payroll deductions                                                                                            $0
f.      Self-employment related expenses                                                                              $0
g.      Living expenses                                                                                               $0
h.      All other expenses                                                                                            $0
i.      Total expenses in the reporting period (e+f+g+h)                                                              $0
j.      Difference between total income and total expenses (d-i)                                                      $0
k.      List the total amount of all postpetition debts that are past due                                             $0
l. Are you required to pay any Domestic Support Obligations as defined by 11              Yes       No
   U.S.C § 101(14A)?
m. If yes, have you made all Domestic Support Obligation payments?                        Yes       No        N/A

                                                     Privacy Act Statement
28 U.S.C. § 589b authorizes the collection of this information, and provision of this information is mandatory under 11 U.S.C.
§§ 704, 1106, and 1107. The United States Trustee will use this information to calculate statutory fee assessments under 28
U.S.C. § 1930(a)(6). The United States Trustee will also use this information to evaluate a chapter 11 debtor's progress
through the bankruptcy system, including the likelihood of a plan of reorganization being confirmed and whether the case is
being prosecuted in good faith. This information may be disclosed to a bankruptcy trustee or examiner when the information
is needed to perform the trustee's or examiner's duties or to the appropriate federal, state, local, regulatory, tribal, or foreign
law enforcement agency when the information indicates a violation or potential violation of law. Other disclosures may be
made for routine purposes. For a discussion of the types of routine disclosures that may be made, you may consult the
Executive Office for United States Trustee's systems of records notice, UST-001, "Bankruptcy Case Files and Associated
Records." See 71 Fed. Reg. 59,818 et seq. (Oct. 11, 2006). A copy of the notice may be obtained at the following link: http://
www.justice.gov/ust/eo/rules_regulations/index.htm. Failure to provide this information could result in the dismissal or
conversion of your bankruptcy case or other action by the United States Trustee. 11 U.S.C. § 1112(b)(4)(F).


I declare under penalty of perjury that the foregoing Monthly Operating Report and its supporting
documentation are true and correct and that I have been authorized to sign this report on behalf of the
estate.



Kr
Kristine Manlapaz                                                                 Kristine Manlapaz
Signature of Responsible Party                                                    Printed Name of Responsible Party

CEO                                                                               06/21/2024
Title                                                                             Date




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                                                    Bankruptcy1to50




                                                   Bankruptcy51to100




                                                  NonBankruptcy1to50




                                                 NonBankruptcy51to100




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                                                    Nutrition 53, Inc.
                                                        Balance Sheet
                                                        As of May 31, 2024


                                                                                                                 TOTAL
ASSETS
 Current Assets
 Bank Accounts
  1110000 Bank Accounts                                                                                        9,675.23
  1120000 Clearing Accounts                                                                               135,706.83
 Total Bank Accounts                                                                                     $145,382.06
 Accounts Receivable
  1210000 Accounts Receivables                                                                                97,999.75
 Total Accounts Receivable                                                                                $97,999.75
 Other Current Assets
  1310000 Inventories                                                                                     115,802.07
  1320000 Prepaid Expenses                                                                                    23,934.43
 Total Other Current Assets                                                                              $139,736.50
 Total Current Assets                                                                                    $383,118.31
 Fixed Assets
 1410001 Computers                                                                                             1,941.20
 1410002 Furniture                                                                                             2,863.40
 1410003 Software                                                                                             31,253.80
 1410004 Leasehold Improvements                                                                               17,059.43
 1410005 Warehouse Equipment                                                                                   9,695.88
 1410006 Accumulated Depreciation                                                                             -75,736.96
 1410008 Equipment                                                                                            11,247.15
 1410009 Office Equipments                                                                                     2,402.40
 1510000 Other Non-Current Assets and Intangibles                                                         106,700.00
 1510004 Accumulated Amortization                                                                             -74,497.50
 Total Fixed Assets                                                                                       $32,928.80
TOTAL ASSETS                                                                                             $416,047.11

LIABILITIES AND EQUITY
 Liabilities
 Current Liabilities
  Accounts Payable
   2110000 Accounts Payable                                                                               694,735.44
  Total Accounts Payable                                                                                 $694,735.44
  Credit Cards
   2210000 Credit Card                                                                                        21,951.38
  Total Credit Cards                                                                                      $21,951.38
  Other Current Liabilities
   2310000 Other Current Liability                                                                       4,100,982.74
   2320000 Accruals                                                                                       280,806.99
  Total Other Current Liabilities                                                                       $4,381,789.73




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                                                 Nutrition 53, Inc.
                                                     Balance Sheet
                                                     As of May 31, 2024


                                                                                                            TOTAL
 Total Current Liabilities                                                                           $5,098,476.55
 Long-Term Liabilities
  2410000 Long Term Liabilities                                                                         321,895.58
 Total Long-Term Liabilities                                                                           $321,895.58
 Total Liabilities                                                                                   $5,420,372.13
 Equity
 3110000 Additional Paid In Capital                                                                   8,075,979.42
 3210000 Contributed Capital (Par Value)                                                                   6,440.25
 3310000 Retained Earnings                                                                           -12,837,501.96
 Net Income                                                                                            -249,242.73
 Total Equity                                                                                       $ -5,004,325.02
TOTAL LIABILITIES AND EQUITY                                                                           $416,047.11




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                                                     Nutrition 53, Inc.
                                                        Profit and Loss
                                                            May 2024


                                                                                                                   TOTAL
Income
 4120000 Protein Powder                                                                                         14,040.60
 4140000 Capsules                                                                                                  707.22
 4210000 Other Sales                                                                                             1,095.64
 4310000 Sales Discount and MCB                                                                                    -53.65
 Sales on Distribution                                                                                          57,252.64
Total Income                                                                                                   $73,042.45
Cost of Goods Sold
 5120000 Protein Powder.                                                                                         3,274.19
 5140000 Capsules.                                                                                                 155.52
Total Cost of Goods Sold                                                                                        $3,429.71
GROSS PROFIT                                                                                                   $69,612.74
Expenses
 6140000 Bank Charges.                                                                                           3,504.54
 6160000 Business Insurances                                                                                     1,111.19
 6170000 Interests                                                                                              33,938.03
 6190000 Office/General Administrative Expenses                                                                  3,197.56
 6260000 Travel Expense                                                                                          1,178.42
 8160000 Medical Expenses...                                                                                       712.51
 8210000 Salaries and Wages..                                                                                   62,150.00
 8220000 Rent or Lease..                                                                                         7,514.88
 8240000 Shipping, Freight and Delivery                                                                          1,281.01
 8270000 Utilities..                                                                                             3,389.70
Total Expenses                                                                                                $117,977.84
NET OPERATING INCOME                                                                                          $ -48,365.10
Other Expenses
 8120000 Amortization..                                                                                            167.50
Total Other Expenses                                                                                              $167.50
NET OTHER INCOME                                                                                                $ -167.50
NET INCOME                                                                                                    $ -48,532.60




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                                           Nutrition 53, Inc.
                                      Statement of Capital Assets
                                                    As of May 31, 2024

                                                                                              Total
Fixed Assets
 1410001 Computers                                                                                    1,941.20
 1410002 Furniture                                                                                    2,863.40
 1410003 Software                                                                                 31,253.80
 1410004 Leasehold Improvements                                                                   17,059.43
 1410005 Warehouse Equipment                                                                          9,695.88
 1410006 Accumulated Depreciation                                                                -75,736.96
 1410007 Truck                                                                                            0.00
 1410008 Equipment                                                                                11,247.15
 1410009 Office Equipments                                                                            2,402.40
 1510000 Other Non-Current Assets and Intangibles
   1510001 Organizational Expenses                                                                40,200.00
   1510002 Formulation                                                                            25,000.00
   1510007 Membership                                                                             41,500.00
 Total 1510000 Other Non-Current Assets and Intangibles                                $         106,700.00
 1510004 Accumulated Amortization                                                                -74,497.50
Total Fixed Assets                                                                     $          32,928.80




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                                                        37
                                          Nutrition 53, Inc.
                                           A/R Aging Summary
                                             As of May 31, 2024


                             CURRENT           1 - 30     31 - 60    61 - 90   91 AND OVER             TOTAL
Amazon                                        780.31                              92,312.89      $93,093.20
Caveman                                                                                272.25         $272.25
GNC                                                                                1,259.30          $1,259.30
Lean1.com Shopify              1,662.59      -167.42                                                 $1,495.17
Paolo Cristobal                                                                    1,612.34          $1,612.34
PFA                                                                               -2,229.50      $ -2,229.50
Sam's Club                                                                             554.83         $554.83
ShopHQ                                                                                 327.92         $327.92
The Kroger Co.                 1,620.00                                                              $1,620.00
TOTAL                         $3,282.59      $612.89       $0.00      $0.00      $94,110.03      $98,005.51




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                                            Nutrition 53, Inc.
                                                A/P Aging Summary
                                                 As of May 31, 2024


                                   CURRENT             1 - 30         31 - 60   61 - 90   91 AND OVER          TOTAL
All Points Manufacturing                                                                      4,536.60       $4,536.60
Altec Packaging, Inc                                                                          5,534.80       $5,534.80
Boos & Associates                                                                            13,163.81    $13,163.81
Boutin Jones Inc                                                                              2,064.00       $2,064.00
Central Transport                                                                             3,360.09       $3,360.09
Command Nutritionals                                                                        246,836.83   $246,836.83
CommerceHub                                                                                      67.00         $67.00
Ergo Law                                                                                      3,300.00       $3,300.00
Federal Express                                                                              71,896.84    $71,896.84
Formulation Solutions                                                                         7,000.00       $7,000.00
Proform Laboratories                                                                         57,352.76    $57,352.76
Smoothie King Historical                                                                    232,365.45   $232,365.45
Total Quality Logistics                                                                       5,155.00       $5,155.00
Veritas Property Management                         9,643.11       10,028.73                  4,915.56    $24,587.40
Wide Umbrella                                                                                11,500.00    $11,500.00
Zoe Padilla.                         3,053.71                           2.97                  2,958.18       $6,014.86
TOTAL                               $3,053.71      $9,643.11      $10,031.70     $0.00     $672,006.92   $694,735.44




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                                       Nutrition 53, Inc.
                                    Statement of Cash Flows
                                         May 1-31,2024
                                                              January
                 Cash Beginning                                     $8,588.68


                 Cash Receipts                                     $72,599.37


                 Payments to Vendors                               $53,058.28
                 Admin Expenses                                    $16,706.30
                 Total Disbursements                               $69,764.58


                 Cash End                                          $11,423.47




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Merchant Account ID: NZ7L78Q6CLFVE       PayPal ID: sales@nutrition53.com                  5/1/24 - 5/31/24



Statement for May 2024
Nutrition53, Inc.
497 Ediston Ct.
Suite B
94534 Fairfield
Balance Summary (5/1/24 - 5/31/24)

               Available beginning      Available ending         Withheld beginning    Withheld ending
 USD                           0.00                   0.00                     0.00                  0.00




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Merchant Account ID: NZ7L78Q6CLFVE       PayPal ID: sales@nutrition53.com               5/1/24 - 5/31/24



Activity Summary (5/1/24 - 5/31/24)
                                                                                                USD
 Beginning Available Balance                                                                     0.00
 Payments received                                                                                0.00

 Payments sent                                                                              -9,213.99

 Withdrawals and Debits                                                                          -1.99

 Deposits and Credits                                                                        9,240.93

 Fees                                                                                           -24.95

 Ending Available Balance                                                                        0.00




                                                                                               Page 2
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                                                     37
Merchant Account ID: NZ7L78Q6CLFVE       PayPal ID: sales@nutrition53.com               5/1/24 - 5/31/24



Payments sent
 Description                                                                                    USD
 General payment                                                                            -9,200.00

 Payment Bill User Payment                                                                      -13.99

 Total                                                                                    -9,213.99

Withdrawals and Debits
 Description                                                                                    USD
 Transfer Withdrawal                                                                             -1.99

 Total                                                                                          -1.99

Deposits and Credits
 Description                                                                                    USD
 Payment Refund                                                                                   1.99

 Transfer Deposit                                                                            9,238.94

 Total                                                                                     9,240.93

Fees
 Description                                                                                    USD
 Fee                                                                                            -24.95

 Total                                                                                        -24.95




                                                                                               Page 3
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                                                     37
Merchant Account ID: NZ7L78Q6CLFVE                    PayPal ID: sales@nutrition53.com                                         5/1/24 - 5/31/24




Transaction History - USD
 Date          Description                               Name \ Email                                    Gross             Fee            Net

               General Payment                           Jenine Barroga
 5/4/24                                                                                              -1,200.00            -4.99     -1,204.99
               ID: 5HH152090P8752401                     jeninewbarroga@gmail.com

               Bank Deposit to PP Account
 5/4/24                                                                                               1,204.99             0.00     1,204.99
               ID: 9NX16365XG236515H

               General Payment                           Jenine Barroga
 5/10/24                                                                                             -2,000.00            -4.99     -2,004.99
               ID: 8M879431H4642640C                     jeninewbarroga@gmail.com

               Bank Deposit to PP Account
 5/10/24                                                                                              2,004.99             0.00     2,004.99
               ID: 3CK18262XE728651U

               General Payment                           Jenine Barroga
 5/14/24                                                                                             -2,000.00            -4.99     -2,004.99
               ID: 5KE11408KB888193C                     jeninewbarroga@gmail.com

               Bank Deposit to PP Account
 5/14/24                                                                                              2,004.99             0.00     2,004.99
               ID: 7RR25445810883248

               Payment Refund                            Google
 5/17/24                                                                                                  1.99             0.00          1.99
               ID: 5AR93989SP388832B                     paypal-account-usd@google.com

               User Initiated Withdrawal
 5/17/24                                                                                                 -1.99             0.00         -1.99
               ID: 92F698034T121143A

               PreApproved Payment Bill User
                                                         Google
 5/19/24       Payment                                                                                  -13.99             0.00        -13.99
                                                         paypal-account-usd@google.com
               ID: 9BM185344L910991E

               Bank Deposit to PP Account
 5/19/24                                                                                                 13.99             0.00         13.99
               ID: 7ME3312213236353M

               General Payment                           Jenine Barroga
 5/25/24                                                                                             -2,000.00            -4.99     -2,004.99
               ID: 2AT90016X1763511K                     jeninewbarroga@gmail.com

               Bank Deposit to PP Account
 5/25/24                                                                                              2,004.99             0.00     2,004.99
               ID: 5579110108540313S

               General Payment                           Jenine Barroga
 5/29/24                                                                                             -2,000.00            -4.99     -2,004.99
               ID: 154289714T794603J                     jeninewbarroga@gmail.com

               Bank Deposit to PP Account
 5/29/24                                                                                              2,004.99             0.00     2,004.99
               ID: 2ED740785E709020D




To report an unauthorized transaction or other error NOT involving your debit card: call (402-938-3614) or write to us (Attn: Error Resolution
Department, P.O. Box 45950, Omaha, NE 68145-0950).

To report an unauthorized transaction or other error concerning your debit card: call (402-938-3614), fax (303-395-2855) or write to us (PayPal
Debit Card Department, P.O. Box 45950, Omaha, NE 68145-0950).

To cancel a pre-authorized or recurring payment or determine whether a pre-authorized or recurring transfer has been made: call us at 1-877-
896-6383 (please note that only calls pertaining to pre-authorized or recurring payments will be accepted at this number).

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                                                                                                              May 01, 2024 through May 31, 2024
                                JPMorgan Chase Bank, N.A.
                                P O Box 182051                                                             Account Number:   000000527695511
                                Columbus, OH 43218 - 2051

                                                                                                        CUSTOMER SERVICE INFORMATION
                                                                                                        Web site:                 www.Chase.com
                                                                                                        Service Center:             1-877-425-8100
                                00019956 DRE 703 210 15724 NNNNNNNNNNN 1 000000000 D2 0000              Para Espanol:               1-888-622-4273
                                NUTRITION 53, INC. DEBTOR IN POSSESSION                                 International Calls:        1-713-262-1679
                                CASE NO 23-40997                                                        We accept operator relay calls
                                497 EDISON CT STE B
                                FAIRFIELD CA 94534-1695




                                                                                                                                                           00199560101000000021
       *start*summary




                                                                     Chase Platinum Business Checking
                      CHECKING SUMMARY
                                                                         INSTANCES                  AMOUNT
                    Beginning Balance                                                               $153.02
                    Deposits and Additions                                        2                1,500.00
                    Electronic Withdrawals                                        2               -1,500.00
                    Ending Balance                                                4                 $153.02
       *end*summary



*start*post summarymessage1




         Your Chase Platinum Business Checking account provides:
         • No transaction fees for unlimited electronic deposits (including ACH, ATM, wire, Chase Quick Deposit)
         • 500 debits and non-electronic deposits (those made via check or cash in branches) per statement cycle
         • $25,000 in cash deposits per statement cycle
         • Unlimited return deposited items with no fee

         There are additional fee waivers and benefits associated with your account - please refer to your Deposit Account
         Agreement for more information.
*end*post summary message1




*start*deposits and additions




            DEPOSITS AND ADDITIONS
                 DATE                  DESCRIPTION                                                                                                AMOUNT
            05/08                      Online Transfer From Chk ...5909 Transaction#: 20713693052                                           $1,000.00
            05/29                      Online Transfer From Chk ...5909 Transaction#: 20918748552                                              500.00
            Total Deposits and Additions                                                                                                    $1,500.00
*end*deposits and additions



 *start*electronicwithdrawal




          ELECTRONIC WITHDRAWALS
                   DATE             DESCRIPTION                                                                                                   AMOUNT
              05/09                 Orig CO Name:Barclaycard US        Orig ID:2510407970 Desc Date: CO Entry                               $1,000.00
                                    Descr:Creditcardsec:Web Trace#:026002576904708 Eed:240509 Ind ID:1126700535
                                    Ind Name:Kristine Manlapaz Trn: 1306904708Tc
              05/30                 Orig CO Name:Barclaycard US        Orig ID:2510407970 Desc Date: CO Entry                                     500.00
                                    Descr:Creditcardsec:Web Trace#:026002572407529 Eed:240530 Ind ID:1134085075
                                    Ind Name:Kristine Manlapaz Trn: 1512407529Tc
              Total Electronic Withdrawals                                                                                                  $1,500.00
 *end*electronic withdrawal




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                                                                                                                                       May 01, 2024 through May 31, 2024
                                                                                                                                  Account Number:       000000527695511

*start*dailyending balance3




            DAILY ENDING BALANCE
            DATE                                                                                         AMOUNT
            05/08                                                                                     $1,153.02
            05/09                                                                                        153.02
            05/29                                                                                        653.02
            05/30
*end*daily ending balance3
                                                                                                         153.02
*start*service charge summary2




              SERVICE CHARGE SUMMARY
*start*service charge summary2 part1




            Monthly Service Fee                                                                                   $0.00
            Other Service Charges                                                                                 $0.00
            Total Service Charges
*end*service charge summary2
                                                                                                                  $0.00
*start*dreportraitdisclosure message area




                  IN CASE OF ERRORS OR QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS:

                  Call us at 1-866-564-2262 or write us at the address on the front of this statement immediately if you think your statement or receipt is incorrect or if
                  you need more information about a transfer listed on the statement or receipt.

                  For personal accounts only: We must hear from you no later than 60 days after we sent you the FIRST statement on which the problem or error
                  appeared. Be prepared to give us the following information:

                                            •    Your name and account number;
                                            •    A description of the error or the transaction you are unsure about, and why you think it is an error or want more information; and
                                            •    The amount of the suspected error.
                  We will investigate your complaint and will correct any error promptly. If we take more than 10 business days (or 20 business days for new
                  accounts) to do this, we will credit your account for the amount you think is in error so that you will have use of the money during the time it takes
                  us to complete our investigation.
                   For business accounts, see your deposit account agreement or other applicable agreements that govern your account for details.
                  IN CASE OF ERRORS OR QUESTIONS ABOUT NON-ELECTRONIC FUNDS TRANSFERS: Contact us immediately if your statement is
                  incorrect or if you need more information about any non-electronic funds transfers on this statement. For more details, see your deposit account
                  agreement or other applicable agreements that govern your account.

                                                                                                                                        JPMorgan Chase Bank, N.A. Member FDIC

*end*dreportraitdisclosure message area




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                                                                                                              May 01, 2024 through May 31, 2024
                                JPMorgan Chase Bank, N.A.
                                P O Box 182051                                                             Account Number:   000000111615909
                                Columbus, OH 43218 - 2051

                                                                                                        CUSTOMER SERVICE INFORMATION
                                                                                                        Web site:                 www.Chase.com
                                                                                                        Service Center:             1-877-425-8100
                                00004672 DRE 703 210 15724 NNNNNNNNNNN 1 000000000 D2 0000              Para Espanol:               1-888-622-4273
                                NUTRITION 53, INC. DEBTOR IN POSSESSION                                 International Calls:        1-713-262-1679
                                CASE NO 23-40997                                                        We accept operator relay calls
                                497 EDISON CT STE B
                                FAIRFIELD CA 94534-1695




                                                                                                                                                           00046720401000000024
       *start*summary




                                                                     Chase Platinum Business Checking
                      CHECKING SUMMARY
                                                                         INSTANCES                  AMOUNT
                    Beginning Balance                                                             $2,734.17
                    Deposits and Additions                                       27               64,299.81
                    ATM & Debit Card Withdrawals                                 43               -5,297.86
                    Electronic Withdrawals                                       31              -59,101.08
                    Fees                                                          1                 -147.50
                    Ending Balance                                              102               $2,487.54
       *end*summary



*start*post summarymessage1




         Your Chase Platinum Business Checking account provides:
         • No transaction fees for unlimited electronic deposits (including ACH, ATM, wire, Chase Quick Deposit)
         • 500 debits and non-electronic deposits (those made via check or cash in branches) per statement cycle
         • $25,000 in cash deposits per statement cycle
         • Unlimited return deposited items with no fee

         There are additional fee waivers and benefits associated with your account - please refer to your Deposit Account
         Agreement for more information.
*end*post summary message1




*start*deposits and additions




            DEPOSITS AND ADDITIONS
                 DATE                  DESCRIPTION                                                                                                AMOUNT
            05/01                      Orig CO Name:Pro Performance          Orig ID:9200502235 Desc Date:240501 CO Entry                   $2,477.68
                                       Descr:ACH Pmt Sec:CCD Trace#:021000028507828 Eed:240501 Ind ID:11130230158
                                       Ind Name:Nutrition 53 Trn: 1228507828Tc
            05/02                      Orig CO Name:Pro Performance          Orig ID:9200502235 Desc Date:240502 CO Entry                     3,102.67
                                       Descr:ACH Pmt Sec:CCD Trace#:021000022514816 Eed:240502 Ind ID:11130374657
                                       Ind Name:Nutrition 53           Apr 29-30 Trn: 1232514816Tc
            05/03                      Orig CO Name:Pro Performance          Orig ID:9200502235 Desc Date:240503 CO Entry                     3,489.96
                                       Descr:ACH Pmt Sec:CCD Trace#:021000023952884 Eed:240503 Ind ID:11130536623
                                       Ind Name:Nutrition 53           Apr 30 - May 1 Trn: 1243952884Tc
            05/06                      Orig CO Name:Pro Performance          Orig ID:9200502235 Desc Date:240506 CO Entry                     1,624.75
                                       Descr:ACH Pmt Sec:CCD Trace#:021000020592148 Eed:240506 Ind ID:11130737365
                                       Ind Name:Nutrition 53           May 1-2 Trn: 1270592148Tc
            05/06                      Orig CO Name:Vitacost.Com           Orig ID:1371333024 Desc Date:240503 CO Entry                           129.65
                                       Descr:Trade Pay Sec:CCD Trace#:091000010803285 Eed:240506 Ind ID:Nutrit53
                                       Ind Name:Nutrition 53 Inc Trn: 1270803285Tc
            05/07                      Orig CO Name:Pro Performance          Orig ID:9200502235 Desc Date:240507 CO Entry                     3,944.94
                                       Descr:ACH Pmt Sec:CCD Trace#:021000021710019 Eed:240507 Ind ID:11130858795
*end*deposits and additions
                                       Ind Name:Nutrition 53           May 3-5 Trn: 1281710019Tc




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                                                                                                 May 01, 2024 through May 31, 2024
                                                                                             Account Number:    000000111615909

*start*deposits and additions




           DEPOSITS AND ADDITIONS (continued)
                 DATE            DESCRIPTION                                                                                         AMOUNT
            05/08                Orig CO Name:Pro Performance         Orig ID:9200502235 Desc Date:240508 CO Entry               3,101.15
                                 Descr:ACH Pmt Sec:CCD Trace#:021000025866704 Eed:240508 Ind ID:11130979324
                                 Ind Name:Nutrition 53           May 5-6 Trn: 1295866704Tc
            05/08                Orig CO Name:Vitacost.Com          Orig ID:1371333024 Desc Date:240507 CO Entry                     388.95
                                 Descr:Trade Pay Sec:CCD Trace#:091000015445720 Eed:240508 Ind ID:Nutrit53
                                 Ind Name:Nutrition 53 Inc Trn: 1295445720Tc
            05/09                Orig CO Name:Pro Performance         Orig ID:9200502235 Desc Date:240509 CO Entry               3,239.70
                                 Descr:ACH Pmt Sec:CCD Trace#:021000026842984 Eed:240509 Ind ID:11131103285
                                 Ind Name:Nutrition 53           May 6-7 Trn: 1306842984Tc
            05/10                Orig CO Name:Pro Performance         Orig ID:9200502235 Desc Date:240510 CO Entry               1,933.67
                                 Descr:ACH Pmt Sec:CCD Trace#:021000020811039 Eed:240510 Ind ID:11131266297
                                 Ind Name:Nutrition 53           May 7-8 Trn: 1310811039Tc
            05/13                Orig CO Name:Pro Performance         Orig ID:9200502235 Desc Date:240513 CO Entry               1,684.95
                                 Descr:ACH Pmt Sec:CCD Trace#:021000026755148 Eed:240513 Ind ID:11131437750
                                 Ind Name:Nutrition 53           May 8-9 Trn: 1346755148Tc
            05/14                Orig CO Name:Pro Performance         Orig ID:9200502235 Desc Date:240514 CO Entry               5,009.59
                                 Descr:ACH Pmt Sec:CCD Trace#:021000021653701 Eed:240514 Ind ID:11131559845
                                 Ind Name:Nutrition 53           May 9-12 Trn: 1351653701Tc
            05/15                Orig CO Name:Pro Performance         Orig ID:9200502235 Desc Date:240515 CO Entry               1,727.30
                                 Descr:ACH Pmt Sec:CCD Trace#:021000020225380 Eed:240515 Ind ID:11131712557
                                 Ind Name:Nutrition 53           May 12-13 Trn: 1360225380Tc
            05/16                Orig CO Name:Pro Performance         Orig ID:9200502235 Desc Date:240516 CO Entry               2,430.94
                                 Descr:ACH Pmt Sec:CCD Trace#:021000028465842 Eed:240516 Ind ID:11131809816
                                 Ind Name:Nutrition 53           May 13-14 Trn: 1378465842Tc
            05/16                Orig CO Name:Vitacost.Com          Orig ID:1371333024 Desc Date:240515 CO Entry                     793.80
                                 Descr:Trade Pay Sec:CCD Trace#:091000017535557 Eed:240516 Ind ID:Nutrit53
                                 Ind Name:Nutrition 53 Inc Trn: 1377535557Tc
            05/17                Orig CO Name:Pro Performance         Orig ID:9200502235 Desc Date:240517 CO Entry               1,922.73
                                 Descr:ACH Pmt Sec:CCD Trace#:021000026119311 Eed:240517 Ind ID:11131965609
                                 Ind Name:Nutrition 53           May 15-16 Trn: 1386119311Tc
            05/20                Orig CO Name:Pro Performance         Orig ID:9200502235 Desc Date:240520 CO Entry               2,772.49
                                 Descr:ACH Pmt Sec:CCD Trace#:021000028932262 Eed:240520 Ind ID:11132162042
                                 Ind Name:Nutrition 53           May 15-16 Trn: 1418932262Tc
            05/21                Orig CO Name:Pro Performance         Orig ID:9200502235 Desc Date:240521 CO Entry               4,669.47
                                 Descr:ACH Pmt Sec:CCD Trace#:021000020985023 Eed:240521 Ind ID:11132304435
                                 Ind Name:Nutrition 53           May 16-19 Trn: 1420985023Tc
            05/21                Orig CO Name:Vitacost.Com          Orig ID:1371333024 Desc Date:240520 CO Entry                     259.30
                                 Descr:Trade Pay Sec:CCD Trace#:091000010463156 Eed:240521 Ind ID:Nutrit53
                                 Ind Name:Nutrition 53 Inc Trn: 1420463156Tc
            05/22                Orig CO Name:Pro Performance         Orig ID:9200502235 Desc Date:240522 CO Entry               1,385.95
                                 Descr:ACH Pmt Sec:CCD Trace#:021000023377319 Eed:240522 Ind ID:11132391928
                                 Ind Name:Nutrition 53           May 19-20 Trn: 1433377319Tc
            05/23                Orig CO Name:Pro Performance         Orig ID:9200502235 Desc Date:240523 CO Entry               2,164.82
                                 Descr:ACH Pmt Sec:CCD Trace#:021000023247174 Eed:240523 Ind ID:11132523820
                                 Ind Name:Nutrition 53           May 20-21 Trn: 1443247174Tc
            05/24                Orig CO Name:Pro Performance         Orig ID:9200502235 Desc Date:240524 CO Entry               2,249.98
                                 Descr:ACH Pmt Sec:CCD Trace#:021000025402984 Eed:240524 Ind ID:11132669768
                                 Ind Name:Nutrition 53           May 21-22 Trn: 1455402984Tc
            05/24                Orig CO Name:Vitacost.Com          Orig ID:1371333024 Desc Date:240523 CO Entry                     129.65
                                 Descr:Trade Pay Sec:CCD Trace#:091000014636759 Eed:240524 Ind ID:Nutrit53
                                 Ind Name:Nutrition 53 Inc Trn: 1454636759Tc
            05/28                Orig CO Name:Pro Performance         Orig ID:9200502235 Desc Date:240528 CO Entry               1,339.25
                                 Descr:ACH Pmt Sec:CCD Trace#:021000022409620 Eed:240528 Ind ID:11132825465
*end*deposits and additions
                                 Ind Name:Nutrition 53           May 22-23 Trn: 1492409620Tc




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                                                                                                 May 01, 2024 through May 31, 2024
                                                                                              Account Number:   000000111615909

*start*deposits and additions




           DEPOSITS AND ADDITIONS (continued)
                 DATE             DESCRIPTION                                                                                        AMOUNT
            05/29                 Orig CO Name:Pro Performance    Orig ID:9200502235 Desc Date:240529 CO Entry                   8,534.03
                                  Descr:ACH Pmt Sec:CCD Trace#:021000025733548 Eed:240529 Ind ID:11132963315
                                  Ind Name:Nutrition 53      May 23-27 Trn: 1505733548Tc
            05/30                 Orig CO Name:Pro Performance    Orig ID:9200502235 Desc Date:240530 CO Entry                   1,162.33
                                  Descr:ACH Pmt Sec:CCD Trace#:021000022281989 Eed:240530 Ind ID:11133125406
                                  Ind Name:Nutrition 53      May 27-28 Trn: 1512281989Tc




                                                                                                                                              10046720402000000064
            05/31                 Orig CO Name:Pro Performance    Orig ID:9200502235 Desc Date:240531 CO Entry                   2,630.11
                                  Descr:ACH Pmt Sec:CCD Trace#:021000026988500 Eed:240531 Ind ID:11133349189
                                  Ind Name:Nutrition 53      May 28-29 Trn: 1526988500Tc
            Total Deposits and Additions                                                                                      $64,299.81
*end*deposits and additions



 *start*atmdebit withdrawal




            ATM & DEBIT CARD WITHDRAWALS
                   DATE         DESCRIPTION                                                                                          AMOUNT
              05/01             Card Purchase       04/30 Amazon.Com*Fr2T60Yp3 Amzn.Com/Bill WA Card 0665                            $64.10
              05/01             Card Purchase       04/30 Amzn Mktp US*Zd9G25B Amzn.Com/Bill WA Card 0665                             53.92
              05/01             Recurring Card Purchase 04/30 Kaiser Pay Internet 800-464-4000 CA Card 0665                          712.51
              05/01             Card Purchase       04/30 Amzn Mktp US*Rr8Od1A Amzn.Com/Bill WA Card 0665                             46.74
              05/01             Recurring Card Purchase 04/30 Www.Namogoo.Com Www.Namogoo.C MA Card 0665                              32.07
              05/01             Recurring Card Purchase 05/01 Google *Gsuite_Nutri Cc@Google.Com CA Card 0665                        253.60
              05/01             Card Purchase W/Cash 05/01 Safeway #0962 Alamo CA Card 0665                                          254.47
                                Purchase $194.47 Cash Back $60.00
              05/02             Card Purchase       05/01 Amzn Mktp US*S462B9B Amzn.Com/Bill WA Card 0665                             31.41
              05/02             Recurring Card Purchase 05/02 Skype Redmond WA Card 0665                                               6.50
              05/02             Card Purchase       05/01 Fastrak Csc 415-486-8655 CA Card 0665                                       40.00
              05/02             Card Purchase       05/02 Shopify* 229010060 Httpsshopify. IL Card 0665                               39.00
              05/02             Card Purchase W/Cash 05/02 Safeway #0962 Alamo CA Card 0665                                          175.34
                                Purchase $115.34 Cash Back $60.00
              05/03             Card Purchase       05/01 Fedex Office 800000836 800-4633339 TX Card 0665                            118.35
              05/03             Recurring Card Purchase 05/02 Xero US Inv-5306754 Httpswww.Xero CO Card 0665                          15.00
              05/03             Card Purchase       05/02 Dialpad Meetings 415-842-9989 CA Card 0665                                  20.00
              05/03             Recurring Card Purchase 05/02 Dropbox 73Fg7V3Ymk3R 141-58576933 CA Card 0665                         119.88
              05/03             Card Purchase       05/03 Amazon.Com*357Iy2J43 Amzn.Com/Bill WA Card 0665                             40.82
              05/03             Card Purchase       05/03 Amzn Mktp US*Vj53A6C Amzn.Com/Bill WA Card 0665                             13.53
              05/06             Card Purchase       05/04 Amzn Mktp US*IX86A5D Amzn.Com/Bill WA Card 0665                             96.93
              05/08             Card Purchase       05/08 Coverdash Policy(S) Httpswww.Usea CA Card 0665                             842.02
              05/08             Card Purchase       05/08 Amazon Prime*Qq11M3S Amzn.Com/Bill WA Card 0665                             16.25
              05/09             Card Purchase       05/08 Ebay C 16830574422 408-3766151 CA Card 0665                                  4.95
              05/09             Card Purchase       05/09 Amzn Mktp US*Rd0Eg53 Amzn.Com/Bill WA Card 0665                             48.37
              05/09             Card Purchase       05/09 Amzn Mktp US*Rs5Wx66 Amzn.Com/Bill WA Card 0665                             66.87
              05/09             Recurring Card Purchase 05/09 Intuit *Qbooks Onlin Cl.Intuit.Com CA Card 0665                        200.00
              05/09             Recurring Card Purchase 05/09 Docusign Inc. 800-3799973 De Card 0665                                  15.00
              05/14             Recurring Card Purchase 05/14 Www.Saasant.Com Httpswww.Saas De Card 0665                               9.99
              05/17             Card Purchase       05/15 Fedex Office 800000836 800-4633339 TX Card 0665                            118.35
              05/17             Recurring Card Purchase 05/17 Www.Namogoo.Com Www.Namogoo.C MA Card 0665                             240.00
              05/17             Recurring Card Purchase 05/17 Ring Unlimited Month Httpsring.Com CA Card 0665                         10.00
              05/20             Card Purchase       05/17 Sp Markjet Httpsmarkjeti NY Card 0665                                      240.00
              05/21             Recurring Card Purchase 05/20 Republic Services Tra 866-576-5548 AZ Card 0665                         81.24
              05/21             Recurring Card Purchase 05/21 Endicia 800-576-3279 TX Card 0665                                       19.99
              05/22             Recurring Card Purchase 05/22 Shipstation 512-485-4282 TX Card 0665                                  209.99
              05/24             Recurring Card Purchase 05/23 Att* Bill Payment 800-331-0500 TX Card 0665                            172.03
              05/28
 *end*atmdebit withdrawal
                                Card Purchase       05/24 IN *Nomadic Ground 415-6249804 CA Card 0665                                136.63

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                                                                                                         Account Number:    000000111615909

*start*atmdebit withdrawal




          ATM & DEBIT CARD WITHDRAWALS (continued)
                DATE               DESCRIPTION                                                                                                   AMOUNT
            05/28                  Recurring Card Purchase 05/24 Userway.Org Userway.Org De Card 0665                                             49.00
            05/28                  Card Purchase       05/25 Amzn Mktp US*Mh07A8A Amzn.Com/Bill WA Card 0665                                      32.61
            05/28                  Card Purchase       05/27 Amzn Mktp US*247Zt99 Amzn.Com/Bill WA Card 0665                                      35.99
            05/28                  Card Purchase       05/25 Amzn Mktp US*Qo9Uo86 Amzn.Com/Bill WA Card 0665                                      52.75
            05/28                  Card Purchase       05/26 Amzn Mktp US*Xs97R2U Amzn.Com/Bill WA Card 0665                                      14.13
            05/30                  Card Purchase       05/28 Sps Commerce 612-435-9400 MN Card 0665                                              508.53
            05/31                  Card Purchase       05/31 Shopify* 237560489 Httpsshopify. IL Card 0665                                        39.00
            Total ATM & Debit Card Withdrawals                                                                                             $5,297.86
*end*atmdebit withdrawal


*start*atmand debit card summary




                     ATM & DEBIT CARD SUMMARY
        Kristine P Manlapaz Card 0665
                                                  Total ATM Withdrawals & Debits                                                               $0.00
                                                  Total Card Purchases                                                                     $5,297.86
                                                  Total Card Deposits & Credits                                                                $0.00
        ATM & Debit Card Totals
                                                  Total ATM Withdrawals & Debits                                                               $0.00
                                                  Total Card Purchases                                                                     $5,297.86
*end*atmand debit card summary
                                                  Total Card Deposits & Credits                                                                $0.00
*start*electronicwithdrawal




       ELECTRONIC WITHDRAWALS
                DATE               DESCRIPTION                                                                                                   AMOUNT
            05/01                  05/01 Online International Wire Transfer A/C: Bank of The Philippine Islands Makati City                $1,500.00
                                   Philippines 1226 Ph Ref:/Rfb/007294021455N Invoice Payment Trn: 3747964122Es
            05/06                  05/04 Online Transfer To Chk ...7258 Transaction#: 20678023282                                            1,500.00
            05/06                  Orig CO Name:Paypal               Orig ID:Paypalmtcu Desc Date:240505 CO Entry                                0.34
                                   Descr:Transfer Sec:Web Trace#:091000016889770 Eed:240506 Ind ID:Wal-Mart.Com US
                                   Ind Name:Nutrition53 Inc.                                                             Transfer
                                   Trn: 1276889770Tc
            05/06                  05/06 Same-Day ACH Payment 11130850542 To Wideumbrella (_######1890)                                      7,500.00
            05/06                  Zelle Payment To Cyrus Rosales Jpm99Agnnot1                                                                  66.00
            05/07                  Orig CO Name:Pgande                Orig ID:5940742640 Desc Date:May 24 CO Entry                             206.95
                                   Descr:Web Onlinesec:Web Trace#:028000080706878 Eed:240507 Ind ID:90126559041924
                                   Ind Name:Nutrition 53 Inc                                                             Web
                                   Online Trn: 1280706878Tc
            05/08                  05/08 Same-Day ACH Payment 11131084564 To Kristinemanlapaz (_######8672)                                  5,000.00
            05/08                  05/08 Online Transfer To Chk ...5511 Transaction#: 20713693052                                            1,000.00
            05/10                  05/10 Online Transfer To Chk ...7258 Transaction#: 20735086873                                            2,000.00
            05/10                  05/10 Online ACH Payment 11131408860 To Cyrusrosales (_###7722)                                           2,500.00
            05/13                  05/13 Online ACH Payment 11131509062 To Adonisalambra (_########6294)                                     1,500.00
            05/13                  Orig CO Name:Liberty             Orig ID:0000061050 Desc Date:240513 CO Entry                               238.92
                                   Descr:Mutual Sec:Web Trace#:021000020763838 Eed:240513 Ind ID:7302040
                                   Ind Name:Nutrition 53 *Inc
                                   844-961-0334 Trn: 1340763838Tc
            05/14                  05/14 Online Transfer To Chk ...7258 Transaction#: 20773039475                                            2,000.00
            05/15                  05/15 Same-Day ACH Payment 11131807082 To Quynhsloan (_######1947)                                        2,500.00
            05/16                  05/16 Online International Wire Transfer A/C: Bank of The Philippine Islands Makati City                  3,500.00
                                   Philippines 1226 Ph Ref:/Rfb/007294021455N Invoice Payment Trn: 3242864137Es
            05/20                  Orig CO Name:American Express          Orig ID:9493560001 Desc Date:240520 CO Entry                           500.00
                                   Descr:ACH Pmt Sec:CCD Trace#:021000024835777 Eed:240520 Ind ID:A2070
                                   Ind Name:William Romanowski                                                               Am
*end*electronicwithdrawal
                                   Trn: 1414835777Tc

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                                                                                                          Account Number:   000000111615909

   *start*electronicwithdrawal




           ELECTRONIC WITHDRAWALS (continued)
                    DATE               DESCRIPTION                                                                                               AMOUNT
               05/20                   Orig CO Name:Paypal              Orig ID:Paypalmtcu Desc Date:240519 CO Entry                               0.34
                                       Descr:Transfer Sec:Web Trace#:091000019382604 Eed:240520 Ind ID:Wal-Mart.Com US
                                       Ind Name:Nutrition53 Inc.                                                     Transfer
                                       Trn: 1419382604Tc
               05/20                   05/20 Same-Day ACH Payment 11132260723 To Kristinemanlapaz (_######8672)                              5,000.00
               05/21                   Zelle Payment To Cyrus Rosales Jpm99Ahf9De6                                                             300.00




                                                                                                                                                            10046720403000000064
               05/21                   05/21 Online ACH Payment 11132390122 To Wingseeng (_########8161)                                     2,955.20
               05/22                   05/22 Online ACH Payment 11132471994 To Annetanswai (_########8148)                                     333.33
               05/22                   05/22 Online ACH Payment 11132472013 To Rosettacheung (_##########9071)                               2,500.00
               05/23                   05/23 Online ACH Payment 11132610301 To Jonathanpadilla (_######5531)                                 2,000.00
               05/28                   05/25 Online Transfer To Chk ...7258 Transaction#: 20887194615                                        2,000.00
               05/28                   05/28 Online ACH Payment 11132893915 To Cyrusrosales (_###7722)                                       2,500.00
               05/29                   05/29 Online ACH Payment 11133072299 To Adonisalambra (_########6294)                                 1,500.00
               05/29                   05/29 Online Transfer To Chk ...7258 Transaction#: 20918577318                                        2,000.00
               05/29                   05/29 Online ACH Payment 11133076750 To Jonathanpadilla (_######5531)                                 2,000.00
               05/29                   05/29 Online Transfer To Chk ...5511 Transaction#: 20918748552                                          500.00
               05/30                   05/30 Online ACH Payment 11133399097 To Jonathanpadilla (_######5531)                                 1,500.00
               05/31                   05/31 Same-Day ACH Payment 11133496920 To Quynhsloan (_######1947)                                    2,500.00
               Total Electronic Withdrawals                                                                                               $59,101.08
   *end*electronicwithdrawal


   *start*fees section




                         FEES
                    DATE               DESCRIPTION                                                                                               AMOUNT
               05/03                    Service Charges For The Month of April                                                               $147.50
               Total Fees                                                                                                                    $147.50
   *end*fees section




*start*dailyending balance2




                DAILY ENDING BALANCE
            DATE                                       AMOUNT             DATE                 AMOUNT               DATE                         AMOUNT

     05/01                                           $2,294.44          05/13                  1,364.90            05/22                         1,818.04
     05/02                                            5,104.86          05/14                  4,364.50            05/23                         1,982.86
     05/03                                            8,119.74          05/15                  3,591.80            05/24                         4,190.46
     05/06                                              710.87          05/16                  3,316.54            05/28                          708.60
     05/07                                            4,448.86          05/17                  4,870.92            05/29                         3,242.63
     05/08                                            1,080.69          05/20                  1,903.07            05/30                         2,396.43
     05/09                                            3,985.20          05/21                  3,475.41            05/31                         2,487.54
     05/10
*end*daily ending balance2
                                                      1,418.87
*start*service charge summary2




              SERVICE CHARGE SUMMARY
            Chase Platinum Business Checking Accounts Included: 00000000000527695511

*start*service charge summary2 part1




            Monthly Service Fee                                                            $0.00
            Other Service Charges                                                        $100.75
            Total Service Charges
*end*service charge summary2
                                                                                         $100.75 Will be assessed on 6/5/24




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                                                                                             Account Number:     000000111615909

*start*service charge detail2




             SERVICE CHARGE DETAIL
            DESCRIPTION                                           VOLUME     ALLOWED     CHARGED        PRICE/ UNIT             TOTAL
            Monthly Service Fee
            Monthly Service Fee Waived                                   0                                     $95.00               $0.00
            Other Service Charges:
            Electronic Credits
            Electronic Credits                                          27   Unlimited           0              $0.40               $0.00
            Credits
            Non-Electronic Transactions                                 52        500            0              $0.40               $0.00
            Non-Electronic Transactions
            Rtp/Same Day-High Value                                      3          0            3             $25.00           $75.00
            Other Service Charges:
            Miscellaneous Fees
            Online US Dollar Intl Wire Fee                               2          4            0             $40.00               $0.00
            Cash Management Services
            Standard ACH Pmnts Initial Fee                              10          0           10              $2.50           $25.00
            Std ACH Pmnts Volume Fee                                     5          0            5              $0.15            $0.75
            Subtotal Other Service Charges (Will be assessed on 6/5/24)                                                        $100.75

            ACCOUNT 000000111615909
            Other Service Charges:
            Electronic Credits
            Electronic Credits                                         27
            Credits
            Non-Electronic Transactions                                50
            Non-Electronic Transactions
            Rtp/Same Day-High Value                                     3
            Other Service Charges:
            Miscellaneous Fees
            Online US Dollar Intl Wire Fee                              2
            Cash Management Services
            Standard ACH Pmnts Initial Fee                             10
            Std ACH Pmnts Volume Fee                                    5

            ACCOUNT 000000527695511
            Credits
            Non-Electronic Transactions                                 2
         Reminder: Fees associated with ACH Payments, Real Time Payments, Same Day ACH, ACH Collections and Chase
         QuickDeposit SM are based on previous month activity.
*end*service charge detail2



 *start*expiredstop payments




              EXPIRED STOP PAYMENTS
             ENTERED                             EXPIRATION                               LOW RANGE                          HIGH RANGE
             DATE                                     DATE                           OR CHECK NUMBER                         OR AMOUNT
             08/15/17                             08/15/24                                      1266                          $3,300.00
             The preceding Stop Payments will expire on the date in the Expiration Date column and will not automatically renew.
 *end*expiredstop payments




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*start*dreportraitdisclosure message area




                 IN CASE OF ERRORS OR QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS:

                 Call us at 1-866-564-2262 or write us at the address on the front of this statement immediately if you think your statement or receipt is incorrect or if
                 you need more information about a transfer listed on the statement or receipt.

                 For personal accounts only: We must hear from you no later than 60 days after we sent you the FIRST statement on which the problem or error
                 appeared. Be prepared to give us the following information:

                                            •    Your name and account number;




                                                                                                                                                                                      10046720404000000064
                                            •    A description of the error or the transaction you are unsure about, and why you think it is an error or want more information; and
                                            •    The amount of the suspected error.
                 We will investigate your complaint and will correct any error promptly. If we take more than 10 business days (or 20 business days for new
                 accounts) to do this, we will credit your account for the amount you think is in error so that you will have use of the money during the time it takes
                 us to complete our investigation.
                   For business accounts, see your deposit account agreement or other applicable agreements that govern your account for details.
                 IN CASE OF ERRORS OR QUESTIONS ABOUT NON-ELECTRONIC FUNDS TRANSFERS: Contact us immediately if your statement is
                 incorrect or if you need more information about any non-electronic funds transfers on this statement. For more details, see your deposit account
                 agreement or other applicable agreements that govern your account.

                                                                                                                                        JPMorgan Chase Bank, N.A. Member FDIC

*end*dreportraitdisclosure message area




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                                JPMorgan Chase Bank, N.A.
                                P O Box 182051                                                             Account Number:   000000112227258
                                Columbus, OH 43218 - 2051

                                                                                                        CUSTOMER SERVICE INFORMATION
                                                                                                        Web site:                 www.Chase.com
                                                                                                        Service Center:             1-877-425-8100
                                00001555 DRE 111 212 15724 NNNNNNNNNNN 1 000000000 D2 0000              Para Espanol:               1-888-622-4273
                                NUTRITION 53, INC. DEBTOR IN POSSESSION                                 International Calls:        1-713-262-1679
                                CASE NO 23-40997                                                        We accept operator relay calls
                                497 EDISON CT STE B
                                FAIRFIELD CA 94534-1695




                                                                                                                                                           00015550201000000022
       *start*summary




                                                                     Chase Platinum Business Checking
                      CHECKING SUMMARY
                                                                         INSTANCES                  AMOUNT
                    Beginning Balance                                                               $160.31
                    Deposits and Additions                                        6                9,501.99
                    Electronic Withdrawals                                        6               -9,238.94
                    Ending Balance                                               12                 $423.36
       *end*summary



*start*post summarymessage1




         Your Chase Platinum Business Checking account provides:
         • No transaction fees for unlimited electronic deposits (including ACH, ATM, wire, Chase Quick Deposit)
         • 500 debits and non-electronic deposits (those made via check or cash in branches) per statement cycle
         • $25,000 in cash deposits per statement cycle
         • Unlimited return deposited items with no fee

         There are additional fee waivers and benefits associated with your account - please refer to your Deposit Account
         Agreement for more information.
*end*post summary message1




*start*deposits and additions




            DEPOSITS AND ADDITIONS
                 DATE                  DESCRIPTION                                                                                                AMOUNT
            05/06                      Online Transfer From Chk ...5909 Transaction#: 20678023282                                           $1,500.00
            05/10                      Online Transfer From Chk ...5909 Transaction#: 20735086873                                            2,000.00
            05/14                      Online Transfer From Chk ...5909 Transaction#: 20773039475                                            2,000.00
            05/20                      Orig CO Name:Paypal               Orig ID:Paypalsd11 Desc Date:240518 CO Entry                            1.99
                                       Descr:Transfer Sec:PPD Trace#:021000029401680 Eed:240520 Ind ID:
                                       Ind Name:Nutrition53, Inc. Trn: 1419401680Tc
            05/28                      Online Transfer From Chk ...5909 Transaction#: 20887194615                                             2,000.00
            05/29                      Online Transfer From Chk ...5909 Transaction#: 20918577318                                             2,000.00
            Total Deposits and Additions                                                                                                    $9,501.99
*end*deposits and additions




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   *start*electronicwithdrawal




           ELECTRONIC WITHDRAWALS
                    DATE               DESCRIPTION                                                                                                 AMOUNT
               05/06                   Orig CO Name:Jenine Barroga          Orig ID:770510487C Desc Date:     CO Entry Descr:Iat             $1,204.99
                                       Paypalsec:Web Trace#:021000024444296 Eed:240506 Ind ID:1034189527736
                                       Ind Name:Nutrition53, Inc.
                                       Iatcv240505Ppzb5L Trn: 1274444296Tc
               05/10                   Orig CO Name:Jenine Barroga          Orig ID:770510487C Desc Date:     CO Entry Descr:Iat               2,004.99
                                       Paypalsec:Web Trace#:021000027505003 Eed:240510 Ind ID:1034310726374
                                       Ind Name:Nutrition53, Inc. Trn: 1317505003Tc
               05/15                   Orig CO Name:Jenine Barroga          Orig ID:770510487C Desc Date:     CO Entry Descr:Iat               2,004.99
                                       Paypalsec:Web Trace#:021000028383137 Eed:240515 Ind ID:1034390426691
                                       Ind Name:Nutrition53, Inc.
                                       Iatcv240514Ppz18Y Trn: 1368383137Tc
               05/20                   Orig CO Name:Paypal               Orig ID:Paypalsi77 Desc Date:240519 CO Entry Descr:Inst                    13.99
                                       Xfer Sec:Web Trace#:021000029221910 Eed:240520 Ind ID:Google Youtube                   Ind
                                       Name:Nutrition53, Inc.
                                       240519Ppzcdz Trn: 1419221910Tc
               05/28                   Orig CO Name:Jenine Barroga          Orig ID:770510487C Desc Date:     CO Entry Descr:Iat               2,004.99
                                       Paypalsec:Web Trace#:021000026159875 Eed:240528 Ind ID:1034614334450
                                       Ind Name:Nutrition53, Inc.
                                       Iatcv240526Ppz8Zj Trn: 1496159875Tc
               05/29                   Orig CO Name:Jenine Barroga          Orig ID:770510487C Desc Date:     CO Entry Descr:Iat               2,004.99
                                       Paypalsec:Web Trace#:021000023020207 Eed:240529 Ind ID:1034691958067
                                       Ind Name:Nutrition53, Inc. Trn: 1503020207Tc
               Total Electronic Withdrawals                                                                                                  $9,238.94
   *end*electronicwithdrawal


*start*dailyending balance3




            DAILY ENDING BALANCE
            DATE                                                                       AMOUNT
            05/06                                                                      $455.32
            05/10                                                                       450.33
            05/14                                                                     2,450.33
            05/15                                                                       445.34
            05/20                                                                       433.34
            05/28                                                                       428.35
            05/29
*end*daily ending balance3
                                                                                        423.36
*start*service charge summary2




              SERVICE CHARGE SUMMARY
*start*service charge summary2 part1




            Monthly Service Fee                                                                  $0.00
            Other Service Charges                                                                $0.00
            Total Service Charges
*end*service charge summary2
                                                                                                 $0.00




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*start*service charge detail2




             SERVICE CHARGE DETAIL
            DESCRIPTION                                                                        VOLUME         ALLOWED         CHARGED           PRICE/ UNIT                 TOTAL
            Monthly Service Fee
            Monthly Service Fee Waived                                                                 0                                             $95.00                  $0.00
            Other Service Charges:
            Electronic Credits
            Electronic Credits                                                                         1       Unlimited               0              $0.40                  $0.00
            Credits




                                                                                                                                                                                      10015550202000000062
            Non-Electronic Transactions                                                                6            500                0              $0.40                  $0.00
            Subtotal Other Service Charges                                                                                                                                   $0.00

            ACCOUNT 000000112227258
            Other Service Charges:
            Electronic Credits
            Electronic Credits                                                                         1
            Credits
            Non-Electronic Transactions                                                                6
         Reminder: Fees associated with ACH Payments, Real Time Payments, Same Day ACH, ACH Collections and Chase
         QuickDeposit SM are based on previous month activity.
*end*service charge detail2



*start*dreportraitdisclosure message area




                   IN CASE OF ERRORS OR QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS:

                   Call us at 1-866-564-2262 or write us at the address on the front of this statement immediately if you think your statement or receipt is incorrect or if
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                                            •    Your name and account number;
                                            •    A description of the error or the transaction you are unsure about, and why you think it is an error or want more information; and
                                            •    The amount of the suspected error.
                   We will investigate your complaint and will correct any error promptly. If we take more than 10 business days (or 20 business days for new
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                                                                                                                                        JPMorgan Chase Bank, N.A. Member FDIC

*end*dreportraitdisclosure message area




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